Case 1:21-cr-00260-LMB Document 608 Filed 09/19/23 Page 1 of 2 PagelD# 4610

Request for Authorization to bring electronic device(s) into the
United States District Court for the Eastern District of Virginia

The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:

Daniel H. Goldman

Authorized Person(s):

Electronic Device(s): Laptop, external hard drives,

power and accessory cords

Purpose and Location Trial: evidence presentation and reference
Of Use:
Case No.: 1:21-CR-260-05
Date(s) Authorized: Oct. 2, 2023-Nov. 3, 2023
IT Clearance Waived: (Yes) (no)
APPROVED BY:
Date: 4 114 [23 Ap
poof United States District/Magisteate/Be

A copy of this signed authorization must be presented upon entering the courthouse.

IT Clearance:

IT Staff Member Date(s)

IT clearance must be completed, unless waived, before court appearance.
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Request to Use the Court’s Evidence Presentation System

U.S. v. Aguilera Sagastizado 1:21-CR-260-05 (Arevalo Arias

Case Name: Case Number:

I hereby request the use of the court’s evidence presentation system and permission to bring a
laptop computer into the courthouse to utilize with the system. I acknowledge that I have read,
understand, and agree to follow all of the guidance available to me on the court’s website
regarding usage of the presentation system and my computer, as well as those items specifically
addressed below:

e Ifnecessary, I will schedule an orientation to ensure that I have all equipment necessary and
understand how the system operates. | must obtain written authorization from chambers to
bring a laptop computer to the scheduled orientation. Orientation provides instruction on use
of the court’s evidence presentation system and an opportunity for testing my laptop
computer connections. Practicing presentations and preparing witnesses are not authorized
without court approval.

e The court does not provide any equipment for in-court presentations such as scanned
documents, animations, graphics, audio and video files from VHS, CD, DVD, Blu-ray, or
external drives like a USB thumb drive. All files must be presented from my laptop
computer.

e lam responsible for operating the evidence presentation system, and court employees are not
authorized to operate my laptop computer. My staff, litigation support contractors, and [ are
not authorized to remove, relocate, or reconfigure any of the court’s evidence presentation
system equipment.

¢ Wi-Fi or any other wireless access to data, webcams, and any recording capabilities on my
laptop computer must be disabled while in the courthouse. Visible evidence, such as red
tape, may be placed over the webcam to prevent video recording.

e Internet service is not provided by the court in the courtroom.

I further agree, as directed by the court, to make any approved system available for, and assist

with, inspecti
/ 9/15/2023
, - (Signature) (Date)
Daniel H. Goldman 82144
(Typed or Printed Name) (VA Bar Number)

